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 4   Telephone (702) 405-0505
     Facsimile (866) 215-8145
 5   Thelasvegasdefender@gmail.com
 6   Attorney for Defendant George McKenna

 7
                                    UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF NEVADA
 9
                                                    ***
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                                                     )
11   UNITED STATES OF AMERICA                        )
                                                     )
12                    Plaintiff,                     )
              vs.                                    )
13                                                   )
                                                     )     CASE NO.: 2:12-CR-0082
14   JACOB VILLANUEVA, JR. et al.,
                                                     )
                                                     )
15                    Defendants.                    )   DEFENDANT GEORGE MCKENNA’S
                                                     )   UNOPPOSED MOTION TO CONDUCT
16                                                   )   A PRE-PLEA PRESENTENCING
                                                     )   INVESTIGATION REPORT AND
17                                                       PROPOSED ORDER
                                                     )
18
19           Comes now, appointed counsel Phil Brown Esq., and hereby moves this Court request a
20
     Pre-Plea Presentence Investigation Report be prepared by the Probation Department.
21
             1) It appears that defendant may be subject to substantially different sentencing ranges
22
     depending upon his verified criminal history as well as other factors surrounding his offense
23
24   and plea. Defendant McKenna’s decision regarding how to proceed may be drastically

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 1   impacted by his sentencing exposure in this regard. The pre-plea presentence report will
 2   promote judicial economy and aid in the manner in which this case is ultimately resolved.
 3
            2) Undersigned counsel therefore respectfully requests an order that the Department of
 4
     Probation conduct a pre-plea presentence investigation report as soon as possible.
 5
 6          3) Undersigned counsel has spoken to the prosecutor, Assistant United States Attorney

 7   Kimberly Frayn regarding this request and she has no opposition.
 8
 9
            DATED this 10th day of July, 2012.
10
11
                                                          /s/Philip H. Brown
12
                                                          PHILIP H. BROWN, ESQ.
13                                                        200 HOOVER AVE, SUITE #130
                                                          LAS VEGAS, NEVADA 89101
14                                                        ATTORNEY FOR THE DEFENDANT
                                                          GEORGE McKENNA
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 5   Thelasvegasdefender@gmail.com
     Attorney for Defendant George McKenna
 6
 7                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 8
                                               ***
 9
                                                )
10   UNITED STATES OF AMERICA                   )
                                                )
11                  Plaintiff,                  )     CASE NO.: 2:12-CR-0082
            vs.                                 )
12                                              )
                                                )   ORDER GRANTING DEFENDANT
     JACOB VILLANUEVA, et. al.,                     GEORGE McKENNA’S UNOPPOSED
13                                              )
                                                )   MOTION      FOR    PRE-PLEA
14                                              )   PRESENTENCING INVESTIGATION
                    Defendants.                     REPORT
                                                )
15                                              )
16
                                                )
17
           IT IS HEREBY ORDERED that the Probation Department will prepare a Pre-Sentence
18
     Investigation Report on Defendant George McKenna.
19
20                        11th
           DATED this the ____ day of July, 2012.
21
22
23
24                                            ________________________________________
                                              U.S. DISTRICT JUDGE
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         Case
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 1
 2
 3                                    CERTIFICATE OF SERVICE

 4
            The undersigned hereby certifies that she is an employee of Brown Law Offices,
 5
 6   Chartered, and is a person of such age and discretion as to be competent to serve papers.

 7          That on July 10, 2012, she served an electronic copy of the above and foregoing
 8   UNOPPOSED MOTION TO CONDUCT A PRE-PLEA PRESENTENCING
 9
     INVESTIGATION REPORT by electronic service (ECF) to the person named below:
10
11
12                  DANIEL BOGDON
                    United States Attorney
13
                    KIMBERLY FRAYN
14
                    Assistant United States Attorney
15                  333 Las Vegas Blvd. So., 5th Floor
                    Las Vegas, NV 89101
16
17
18
                                                          /s/ Mary D. Brown
19                                                        _________________________________
20                                                        Employee of Brown Law Offices, Chartered

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